Case 2:19-cv-10613-BAF-RSW ECF No. 3 filed 05/24/19 PagelD.7 Page 1of 19

UNITED STATES DISTRICT COURT
EASTERN DIVISION OF MICHIGAN

JESSE KENNEDY,
Court File No: 2:19-cv-10613-BAF-RSW
Plaintiff, Hon. Bernard Friedman
vs.

SOUTHFIELD FIRE DEPARTMENT,

Defendant.

DEFENDANT’S MOTION TO DISMISS

For the reasons stated in brief accompanying this motion, Defendant, Southfield Fire
Department, by and through its attorney, moves this Court pursuant to Fed R. Civ. P. 12(b)(6) to
dismiss Plaintiff, Jesses Kennedy’s Complaint against Defendant for failure to state acclaim

upon which relief can be granted.

Concurrence: Plaintiff was contacted by Deputy City Attorney, Dawn King, via telephone on
May 21, 2019 at 12:00 p.m. to discuss concurrence with Defendant, Southfield Fire
Department’s Motion to Dismiss the case. Plaintiff did not concur and stated he would file a
Motion to Dismiss the case in federal court due to the City’s failure to file a response when the

Southfield Fire Department removed the case to this Court.

— ubmi

Dated: May 24, 2019 A (P58143)
Coen City Attorney

City of Southfield
26000 Evergreen Road — SS
Southfield, MI 48076

(248) 796-5786
dking@cityofsouthfield.com
Case 2:19-cv-10613-BAF-RSW ECF No. 3 filed 05/24/19 PagelD.8 Page 2 of 19

UNITED STAT ES DISTRICT COURT
EASTERN DIVISION OF MICHIGAN
JESSE KENNEDY,
Court File No: 2:19-cv-10613-BAF-RSW
Plaintiff, Hon. Bernard Friedman
vs.

SOUTHFIELD FIRE DEPARTMENT,

Defendant

DEFENDANT’S BRIEF IN SUPPORT OF MOTION TO DISMISS
Case 2:19-cv-10613-BAF-RSW ECF No. 3 filed 05/24/19 PagelD.9 Page 3 of 19

 

TABLE OF CONTENTS
INDEX OF AUTHORITIEG..............cssccccssccssccesccsccscesceccaseccccssosssescceseesece ces il
INDEX OF EXHBITS..............ccccecssccsecscccsceccscenccsccsscccssssssscsssnessaescesceseces iii
T. INTRODUCTION. ..........s0cceccscscesccscscccsssscesccscsssesceseescesscsscssaescssescees cease 1

TI. PROCEDURAL HISTORY...............cssccsccsscsscscesccecceccsscecccsssecsesssesecesseeel <2

Til. FACTUAL ALLEGATIONS OF THE COMPLAINT............ccceccosscescecese 2-3

TV. LAW AND ARGUMENT...........cccscecccccscsccscnecscssesceccecascecssesccnscecoscescess 3
A. LEGAL STANDARD.............ccccssssecsccsccsccscscaccesccsescesaces 3
B. PLAINTIFF HAS NOT STATED A VALID CLAIM FOR
RELIEF ..........ccsceessccsccsccssscsscsccscnsccccssssscesesccscecessesors 4
V. CONCLUSION AND RELIEF REQUESTED..............sccecsccsccsccsssccecesceess 4-5
Case 2:19-cv-10613-BAF-RSW ECF No. 3 filed 05/24/19 PagelD.10 Page 4 of 19

 

INDEX OF AUTHORITIES

Ashcroft v Iqbal, 556 US 662.2... 0... .scccceesccsscsvccccecueseuseseusesceuececeeccceseeceses 3,4
Bell Atl Corp v Twombly, 550 US 544.......cccccccecccecccecccuscecuecseuestecceeececesceseescc. 3,4
Keys v Humana, Inc, 684 F3d 605, 608 (CA 6, 2012)........eecccsecceeecceeccccececccecccecce. 4
COURT RULES

Fed. R. Civ. P. 8(a)(2)... 00... ceeeecccseeececeseeeueeccssuecescessseseeseaessstubesseeeteeceseseces. 3
Fed. R. Civ. P. 12(b)(6)... 0... ceeceeccccsesccsescescssucceuseenesstaestsisseeecseeeeccetsecees 1,5
E.D. Mich LR 41.2.0... ccc eceeeccceeeceeeceeeeeessseesuasesuesssaesssuseseecseuseeeeeceseee. 2
STATUTES

28 U.S.C. § 1441 and §1446.. oo ceccceecceeeccuucccuseceucssernsessenssseeseeeeeceesecs 2
15 US.C. § 1681... cee cece eecaecneteu eee ceeseuecaveaesaseseutsussuesusceececeeece. 1, 2, 3,4

il
Case 2:19-cv-10613-BAF-RSW ECF No. 3 filed 05/24/19 PagelD.11 Page 5of 19

INDEX OF EXHIBITS
Exhibit 1
46" District Court Affidavit and Claim Small Claims Case No.SC 19-0038..................1
Exhibit 2
Notice of Removal of State Case to the Federal Court.....0..0.cccccccccccccceteeecccccceceeee, 2
Exhibit 3
Order to Show Cause.........cceceecceccseseeseesecessseseeececeeesessusaeeesscsseseueeeceeeecce. 2

iti
Case 2:19-cv-10613-BAF-RSW ECF No. 3 filed 05/24/19 PagelD.12 Page 6 of 19

UNITED STATES DISTRICT COURT
EASTERN DIVISION OF MICHIGAN
JESSE KENNEDY,
Court File No: 2:19-cv-10613-BAF-RSW
Plaintiff,
Vs.

SOUTHFIELD FIRE DEPARTMENT,

Defendant.

L INTRODUCTION

Plaintiffs Complaint asserts claims “under 15 U.S.C. § 1681 of the Fair Credit Reporting
Act”. Plaintiff's claims also state “violations, breach of security, to personal health information,
actions occurred in the City of Southfield”. Other than that, the complaint does not provide any
additional information to support the underlying alleged claims. Therefore, without any specific
information supporting the alleged stated claims, Defendant, City of Southfield Fire Department
cannot prepare a proper defense or develop other plans to resolve this matter. Without
supporting factual allegations to support a valid claim under 15 U.S.C. § 1681 of the Fair Credit

Reporting Act or Michigan statute, the Complaint must be dismissed under Fed R. Civ. P.

12(b)(6)

IL. PROCEDURAL HISTORY
Plaintiff filed an Affidavit and Claim (“the Complaint”) in the Small Claims division for
the 46th District Court of Michigan for the City of Southfield, Case number SC 19-0038, on

January 24, 2019. (Exhibit 1) On February 11, 2019, the City of Southfield City received a copy
Case 2:19-cv-10613-BAF-RSW ECF No. 3 filed 05/24/19 PagelD.13 Page 7 of 19

of the Complaint and the case was removed to the General Civil Division at the request of the
City of Southfield. (Exhibit 2) On March 6, 2019 the City of Southfield, pursuant to 28 U.S.C. §
144] and § 1446 filed a Notice of Removal to this Court and mailed a copy of the Notice of
Removal to complainant at his address as listed in his Complaint.

Plaintiff also had a pending case that was related to the current matter that was recently
dismissed. (United States District Court Eastern District of Michigan, Case No. 2:19-cv-10458)
Therefore, the City of Southfield was in process of filing a Motion to Dismiss when it received
an Order of Show Cause on May 15, 2019 filed by this Court as to why this case should not be
dismissed due to Plaintiff's failure to prosecute pursuant to LR 41.2. (Exhibit 3)

The City of Southfield did not receive any other pleadings from Plaintiff other than initial
service of the Complaint in the 46" Judicial District Court on January 24, 2019, received by the

City of Southfield on February 11, 2019.

Il, FACTUAL ALLEGATIONS

The Complaint filed by Plaintiff does not contain substantive factual allegations. The
information lists the Defendant as the Southfield Fire Department, city services. (Exhibit 1)
Plaintiff is listed as an individual, Jesse Kennedy with an address of 26300 Summerdale Drive,
Southfield, MI. The date of the claim, in the Complaint, is October 14, 15 of 2016, 4-25-2017,
12-13-2018. The amount of money claimed is $6,000.00

The Complaint notates that the reason for the claim are “multiple violations under 15
U.S.C. § 1681 of the Fair Credit Reporting Act and violations, breach of security, to personal
health information; actions occurred in the City of Southfield”. The Complaint does not aver

any other facts that describe the actions by the Southfield Fire Department that are alleged to
Case 2:19-cv-10613-BAF-RSW ECF No. 3 filed 05/24/19 PagelD.14 Page 8 of 19

have violated 15 U.S.C. § 1681 of the Fair Credit Reporting Act or a breach of security to
personal health information.
Even after serving Plaintiff with the Notice of Removal to this Court, Defendant,

Southfield Fire Department did not receive any other supporting pleadings from the Plaintiff.

IV. LAW AND ARGUMENT

A. LEGAL STANDARD

Pursuant to Fed. R. Civ. P. 8(a)(2), a pleading that states a claim for relief’ must contain
a short and plain statement of the claim showing that the pleader is entitled to relief.” To
survive a Motion to Dismiss, a complaint must contain sufficient factual matter, accepted as
true, to “state a claim to relief that is plausible on its face.” Ashcroft v Iqbal, 556 US 662,
678(2009) (quoting Bell Atl Corp v Twombly, 550 US 544, 570(2007)) “Asking for plausible
grounds does not impose a probability requirement at the pleading stage; it simply calls for
enough fact to raise a reasonable expectation that discovery will reveal evidence of illegal
agreement. The need at the pleading stage for allegations plausibly suggesting (not merely
consistent with) agreement reflects Rule 8(a)(2)'s threshold requirement that the “plain
statement” possess enough to “show that the pleader is entitled to relief.” T; wombly, 550 US at
545

A plaintiff's obligation to provide the “grounds” of his “entitle[ment] to relief” requires
more than labels and conclusions, and a formulaic recitation of a cause of action's elements will
not do. Jd 550 US at 545. “Threadbare recitals of the elements of a cause of action, supported
by mere conclusory statements, do not suffice. Ashcroft v Iqbal, 556 US 662, 679(2009)

(quoting Twombly at 555)
Case 2:19-cv-10613-BAF-RSW ECF No. 3 filed 05/24/19 PagelD.15 Page 9 of 19

B. PLAINTIFF HAS NOT STATED A VALID CLAIM FOR RELIEF

Plaintiff has failed to adequately plead his claims against the Southfield Fire
Department under 15 U.S.C. § 1681 Fair Credit Reporting Act, or any other federal or
Michigan laws. Plaintiff only cites that there are “multiple violations of the Fair Credit
Reporting Act”, does not specify what violations were committed by the Southfield Fire
Department. Also, Plaintiff states “breach of security to personal health information”.
However, Plaintiff not only fails to specify the applicable federal or state law, but also fails to
supplement the Complaint with factual allegations to support the claims. “Factual allegations
must be enough to raise a right to relief above the speculative level on the assumption that all of
the complaint's allegations are true. “Twombly, 550 US at 545”, “A plaintiff must “plead [ ]
factual content that allows the court to draw the reasonable inference that the defendant is liable
for the misconduct alleged.” Keys v Humana, Inc, 684 F3d 605, 608 (6" Cir. 2012) (quoting
Ashcroft 556 US at 678) Plaintiffs Complaint does not provide fair notice of the factual
allegations as to what the claim is actually about and the grounds upon which it rests. Humana
684 F3d 605 at 608 (quoting Erickson v. Pardus, 551 U.S. 89, at 93, (internal quotation marks
omitted) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544 at 555 (2007)).

Plaintiff's statements in the Complaint do not provide anything that would allow the
Southfield Fire Department to file a proper defense to this matter. Therefore, there is no claim

for which relief can be granted.

V. CONCLUSION AND RELIEF REQUESTED
Plaintiff ‘s allegations that there are “multiple violations of Federal Credit Reporting

Act and breach of security of personal health information” falls short of stating a valid claim
Case 2:19-cv-10613-BAF-RSW ECF No.3 filed 05/24/19 PagelD.16 Page 10 of 19

for relief. Plaintiff's Complaint only cites a conclusion, and his request for $6000 in
damages. Facts that might support a cause of actions are absent from the pleadings.

Accordingly, the Plaintiff's Complaint must be dismissed under Fed. R. Civ. P. 12(b)(6).

  
  

RgSpectfully submitted/

Dated: May24, 2019

   
  

Dawn M. King
Attorney for Defendant,
City of Southfield
26000 Evergreen Ra
Southfield, MI 480
(248) 796-5786
Case 2:19-cv-10613-BAF-RSW ECF No.3 filed 05/24/19 PagelD.17 Page 11 of 19

Exhibit 1
Case 2:19-cv-10613-BAF- RSW ECF No. 3. filed 05/24/19 PagelD. 18 Page 12 of 19

 

 

 

 

~ BS . Original - Court

( ) C) ‘481 copy - Defendant

poe Re . . 2nd copy - Return

Approved, SCAO . ; . 3rd copy - Plaintiff

STE JUDICIAL DISTRI cr AFFIDAVIT AND CLAIM CASENO.
Small Claims SEXIn sc 19 0038

Court address oe . Court telephone no.
26000 Evergreen, Southfield, Mi48076_ 248-796-5870

See Instructions on the. back of plaintiff and defendant copies.

 

4 OWE SSE Venweny

 

 

 

 

 

 

 

 

Sanat i NOTICEOF HEARING
Z6 200 SUMMER ble DRIVE “ For Court Use Only
Address eg .
The plaintiff and the defendant must be in court o
Sosthfiel Id, mk 46032 QUE-KRSuZY | TP ) "
2 state, Zi -f Telephone no. WEDNESDAY APRIL 3, 2019
2 SoFIALEN Fike Demmernen T Day Date
~ Defendant 1:30 PM
at_f:7¥ fu at
BUI ZL. A 3, Se. Z. D im at 42) the courtaddress above.
Address , R
So tebe, mr He Ay &-79b. =3650 Location . :
City, state, zip , Telephone n no. . Fee paid: $ 80.00
: Process server's name -

 

 

 

. O13. Acivil action between these parties ¢ or other parties arising out of the transaction or occurrence alleged in this complaint

 

 

 

has been previously filed i in__- Court. The case number, if known, is
The action [7] remains LJ isnolonger — pending.
4. ee knawledge or belief about all the facts stated in this affidavit andl am
4 the plaintiff Women conservator, or next friend. () apartner. CJ a full-time employee of the plint
5. The plaintiff is anindividual. [Japartnership. (Cl acorporation. (Jl asole proprietor. Ol. -
ther

6. The defendantis (J anindividual. Clapartnership. (lacorporation. Llasole proprietor, WEITY SERVICES
6 f Other
7. The date(s) the claim arose is/are Qe: en Hef IS oT Zol lo. H-2S> Z0| } 2 | ~2.2\ oy

_ Attach separate sheets if necessary

8, Amount of money claimed | is $ by ‘000. oO. (NOTE: Plaintiffs cosis are determined by the court and awarded’ as
appropriate. They are not part of the oe clai 2 “) ¢|

9. The reasons for thé diaim are pnolt de violaT VOM UNDER 1/5 US, €.
OF ThE FAR chEDIT é poeTinve AST, AY) VidlAT ows

\. =.
veomp bebe sett) plore, of Seeval hy JO Person henth ila€arrey
AETIenS a¢evReEd. WV SovTANE | mL
10. The plaintiff understands atid accepts that the claim is limited to $6, 000 by Jaw and that the plaintiff gives up the rights to
(a) recover more than. ht (b) an attorney, () a jury trial, and (d) appeal the judge's decision. Ss 7

tin

44. Ibeleve the deferidant is Clisnot mentally competent. re defendant ye Lis not ag yeets.0f older.

a i

12.1 do not know whether the defendant i is in the military service The defendant is not in the military sBidice.|

LJ The defendant is in the military service. ~

 

 

 

 

 

 

. =a a
. “os Lo. mo ‘ mE 5
: am Signat " ) eo
os Co . ignature CS | ee
Subscribed and sworn to before me on_- . ~ 2 ie ; . — , | GSuntycMichigan,
ission ires : | _ . Signature: z
My commission expires Sais 9 * Gepuly lerNOIaTy PUBIG c
Notary public, State of Michigan, County tT
The defendant(s) must be served by Up 2s \ ) .
Expiration date
pe 84 (12/14) AFFIDAVIT AND CLAIM, Small Claims “MCL 600.8401 of seg., MCR 4.302, MCR 4,303, 50 USC 521 -

DEFENDANT |

 
Case 2:19-cv-10613-BAF-RSW ECF No.3 filed 05/24/19 PagelID.19 Page 13 of 19

Exhibit 2
Case 2:19-cv-10613-BAF-RSW ECF No.3 filed 05/24/19 PagelID.20 Page 14 of 19

UNITED STATES DISTRICT COURT
EASTERN DIVISION OF MICHIGAN

JESSE KENNEDY,

Court FileNo: $'°/9 «7 y-/06/3- .,
Plainttt A‘19 -CV- 10613 - BAF AS
vs.

SOUTHFIELD FIRE DEPARTMENT,

Defendant

NOTICE OF REMOVAL

Defendant, Southfield Fire Department pursuant to 28U.S.C. § 1441 and 1446 files the
following Notice of Removal with respect to Case No. GC-19-0736, currently pending in the 46"
_ Judicial District Court, General Civil Division, State of Michigan, City of Southfield. In support

of this Notice, Defendant states the following:

PROCEDURAL HISTORY

1. Plaintiff filed an Affidavit and Claim (“the Complaint) in the Small Claims
division for the 46th District Court of Michigan for the City of Southfield, Case number SC 19-
0038, on January 24, 2019. On February 11, 2019, the City of Southfield City Attorney’s Office
received a copy of the Complaint and the case was removed to the General Civil Division at
request of the City of Southfield. The tre and correct copy of the pleadings and related
documents Plaintiff filed in state court are attached to these removal papers as Exhibit A. These

documents in Exhibit A constitute all “process, pleadings, or orders” within the meaning of 28

U.S.C. § 1446.
Case 2:19-cv-10613-BAF-RSW ECF No.3 filed 05/24/19 PagelD.21 Page 15 of 19

2. Plaintiff's Complaint asserts claims “under 15 U.S.C. § 1681 of the Fair Credit
Reporting Act” and “under 42 U.S.C. § 210 of The Health Insurance Portability and
Accountability Act.

3. This court has jurisdiction over Plaintiff's 15 U.S.C. 1692k(d) Complaint under
28 U.S.C. § 1331, which provides for federal jurisdiction for all civil actions arising under the
laws of the United States; under 28 U.S.C. § 1391, which provides for federal jurisdiction over
claims raised under The Health Insurance Portability and Accountability Act. (“HIPAA”) 42
USCA 1320d-6 et seq; and 15 U.S.C. § 1681P, which provides for federal jurisdiction over
claims raised under the Fair Credit Reporting Act (“FCRA”, 15 U.S.C. §1681 et seq)

4. This Court is the District Court of the United States for the district and division
embracing the place where this action is currently pending, as required by 28 U.S.C. § 1441 (a).

5. This Notice is timely filed because it is made within 30 days after the City of
Southfield City Attorney’s office received the Complaint setting forth a removable claim, which
is the first date from which it could be ascertained that this action is removable. 28 U.S.C. § 1441
(a).

Written notice of the filing of this Notice of Removal has been served upon the Plaintiff,

~ and a copy will concurrently be filed with the 46" District Court Clerk of Court

Respectfully submitted,

 

Dated: February 27, 2019 Elizabeth Rae-O2Dénnell (P41529)
City Attorney

City of Southfield

26000 Evergreen Road

Southfield, MI 48076

(248) 796-5786
eraeodonnell@cityofsouthfield.com
Case 2:19-cv-10613-BAF-RSW ECF No. 3_-filed05/24/149 C 22 Page 16 of 19

UL}

Dah ™M. lk 143)
Cae ty City Attormie
City of Southfield

(248)796-5786
dking@citypfsouthfield.com

   
 
 

CERTIFICATE OF SERVICE
I certify that on March 1, 2019, I electronically filed the foregoing pleadings with the
Clerk of the Court using ECF system which will send notification of such filing to counsel of

record and served upon the following parties via U.S. First Class Mail as follows:

Clerk of the Court Jesse Kennedy
46" Judicial District Court aw Summerdale Drive
General Civil Division eld, MI ;8 3

26000 Evergreen Road
Southfield, MI 48076 ad

mk King @s8i4s)

 
Case 2:19-cv-10613-BAF-RSW ECF No.3 filed 05/24/19 PagelD.23 Page 17 of 19

Exhibit 3
Gase 2:19-G+10613-BAF-RSW EGF No.3 filed 05/24/19 PagelD.24 . Rage.L3 af 19

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

Jesse Kennedy,

 

Plaintiff(s),
Vv. Case No. 2:19-cv-10613-BAF-RSW
Hon. Bernard A. Friedman
City of Southfield,
Defendant(s),
ORDER TO SHOW CAUSE

IT IS HEREBY ORDERED that Plaintiff(s) SHOW CAUSE, in writing, by 5/29/2019, why
the above-entitled case should not be dismissed for failure to prosecute, pursuant to E.D.
Mich LR 41.2. Failure to respond may result in dismissal of the case.

s/Bernard A, Friedman
Bernard A. Friedman
U.S. District Judge

Certificate of Service

| hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

By: s/J, Curry—Williams
Case Manager

Dated: May 15, 2019
Case 2:19-cv-10613-BAF-RSW ECF No.3 filed 05/24/19 PagelD.25 Page 19 of 19

UNITED STATES DISTRICT COURT
EASTERN DIVISION OF MICHIGAN

JESSE KENNEDY,

Plaintiff, Case No. 2:19-cv-10613-BAF-RSW
Hon. Bernard A. Friedman

v.
SOUTHFIELD FIRE DEPARTMENT,

Defendant

 

CERTIFICATE OF SERVICE
I hereby certify that on May 24, 2019, I electronically filed Defendant’s Motion to
Dismiss and Defendant’s Brief in Support of Motion to Dismiss with the Clerk of the

Court using the ECF system, which will send notification to All Parties and Attorneys of

 
   

   

 

Record.
ly subnfjtted,
Dated: May 24, 2019 ann M. King (P3814
Deputy City Attorney
City of Southfield

26000 Evergreen Road |
Southfield, MI 48076 /
(248) 796-5786

dking@cityofsouthfield.com
